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                       UNITED STATES BANKRUPTCY COURT
                         DISTRICT OF SOUTH CAROLINA

  In re:
                                                              Chapter 11
  Watertech Holdings, LLC,
                                                         Case No. 20-00662-JW
                        Debtor.


                               STATEMENT OF CHANGE

         In accordance with Bankruptcy Rule 1009, Watertech Holdings, LLC, (“Debtor”),
  as detailed on the attached amendment, hereby amends its Voluntary Petition and
  Schedules as shown below:

         1.      Debtor amends its Voluntary Petition to indicate that its principal place of
  business as 4360 Corporate Rd., Suite 100, North Charleston, SC 29405.

        2.     Debtor amends its Schedules and Statements to include the Business
  Income and Expenses found in the attached amendments.

         3.      Debtor amends its Schedule A/B Assets – Real and Personal Property as
  follows:

                 a. at question 15, entry 15.1 to clarify that its non-publicly traded interest
                    in in NABAS Group, Inc., as shown in the attached amendments;

                 b. at question 60 Debtor amends to show Patent No.: US 10,588,992 B2
                    with a current value of $200,000, as shown in the attached
                    amendments;

                 c. at question 60 Debtor amends to show its Mag-50 Trademark with a
                    current value of $10,000, as shown in the attached amendments;

                 d. at question 62 Debtor amends to show its license with NanoPure
                    Technologies, LLC with a current value of $649,400 as shown in the
                    attached amendments;

                 e. at question 64, Debtor amends to delete the entry, as shown in the
                    attached amendments; and

                 f. at question 71 to show that the Debtor’s note receivable is from
                    NABAS Group, Inc., as shown in the attached amendments.




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                 Respectfully submitted,
                                            McCARTHY, REYNOLDS, & PENN, LLC


  May 6, 2020.                        By:   /s/W. Harrison Penn
                                            G. William McCarthy, Jr., I.D. #11164
                                            1517 Laurel Street (29201)
                                            Columbia, SC 29201-1332
                                            (803)771-8836
                                            hpenn@mccarthy‐lawfirm.com




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                Bob Fei, Manager of the Debtor herein, declares under penalty of perjury,
        that he has read the foregoing Amendment to the Voluntary Petition and declares
        that the amendments made are true and correct to the best of his knowledge,
        information, and belief.



        May 6, 2020.                                /s/Bob Fei
                                                    Bob Fei, Manager




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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF SOUTH CAROLINA

Case number (if known)      20-00662                                        Chapter      11
                                                                                                                             Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Watertech Holdings, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed           Watertech Equipment and Sales, LLC
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                                                                                  Attn: Bob Fei
                                  4360 Corporate Road, Suite 100                                  4360 Corporate Road, Suite 100
                                  North Charleston, SC 29405                                      North Charleston, SC 29405
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Charleston                                                      Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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Debtor    Watertech Holdings, LLC                                                                   Case number (if known)    20-00662
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                5617

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
                                        Chapter 9
                                          Chapter 11. Check all that apply:

                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12


9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                               Case number
                                                 District                                 When                               Case number


10. Are any bankruptcy cases
    pending or being filed by a
                                        No
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                  Relationship
                                                 District                                 When                           Case number, if known




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Debtor   Watertech Holdings, LLC                                                                 Case number (if known)   20-00662
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                                25,001-50,000
    creditors                                                                    5001-10,000                                50,001-100,000
                                 50-99
                                 100-199                                        10,001-25,000                              More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million                More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    Watertech Holdings, LLC                                                                  Case number (if known)   20-00662
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      May 6, 2020
                                                  MM / DD / YYYY


                             X   /s/ Robert Fei                                                           Robert Fei
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Manager




18. Signature of attorney    X   /s/ G. William McCarthy Jr.                                               Date May 6, 2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 G. William McCarthy Jr. 2762
                                 Printed name

                                 McCarthy, Reynolds, & Penn, LLC
                                 Firm name

                                 P. O. Box 11332
                                 Columbia, SC 29211-1332
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     803-771-8836                  Email address


                                 2762 SC
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
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 Fill in this information to identify the case:

 Debtor name          Watertech Holdings, LLC

 United States Bankruptcy Court for the:            DISTRICT OF SOUTH CAROLINA

 Case number (if known)         20-00662
                                                                                                                                       Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number
                     Bank of America
                     Balance - $-350 (Bank of America is
                     listed as a creditor for this amt on
            3.1.     Schedule F)                                            Checking                         9988                                             $0.00



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                                           $0.00
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No.   Go to Part 3.
       Yes Fill in the information below.

 Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

       No.   Go to Part 4.
       Yes Fill in the information below.

 Part 4:           Investments
13. Does the debtor own any investments?

       No. Go to Part 5.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                                page 1
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 Debtor         Watertech Holdings, LLC                                                      Case number (If known) 20-00662
                Name


     Yes Fill in the information below.
                                                                                                     Valuation method used     Current value of
                                                                                                     for current value         debtor's interest

 14.        Mutual funds or publicly traded stocks not included in Part 1
            Name of fund or stock:

 15.        Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
            partnership, or joint venture
            Name of entity:                                               % of ownership


            15.1.    NABAS Group, Inc.                                              5%        %      Cost                               $500,000.00



 16.        Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
            Describe:

 17.        Total of Part 4.                                                                                                        $500,000.00
            Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No.    Go to Part 6.
     Yes Fill in the information below.

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No.    Go to Part 8.
     Yes Fill in the information below.

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No.    Go to Part 9.
     Yes Fill in the information below.

 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No.    Go to Part 10.
     Yes Fill in the information below.

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No. Go to Part 11.
     Yes Fill in the information below.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 2
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 Debtor         Watertech Holdings, LLC                                                          Case number (If known) 20-00662
                Name



            General description                                                  Net book value of       Valuation method used        Current value of
                                                                                 debtor's interest       for current value            debtor's interest
                                                                                 (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            Patent No.: US 10,588,992 B2                                                       $0.00                                           $200,000.00


            Mag-50 Trademark                                                                   $0.00                                            $10,000.00



 61.        Internet domain names and websites

 62.        Licenses, franchises, and royalties
            License with NanoPure Technologies, LLC                                            $0.00                                           $649,400.00



 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                               $859,400.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
             No
             Yes
 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
             No
             Yes
 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
             No
             Yes
 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No. Go to Part 12.
     Yes Fill in the information below.
                                                                                                                                      Current value of
                                                                                                                                      debtor's interest


 71.        Notes receivable
            Description (include name of obligor)
                                                                              650,000.00 -                                   0.00 =
            NABAS Group, Inc.                                           Total face amount     doubtful or uncollectible amount                 $650,000.00



 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                         page 3
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 Debtor         Watertech Holdings, LLC                                                      Case number (If known) 20-00662
                Name

           has been filed)

 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

           Breach of Contract - Nano / GFS Mold                                                                                      Unknown
           Nature of claim         Unliquidated
           Amount requested                                               $0.00



           Claims against Barron Algae / Glenn Barrett                                                                               Unknown
           Nature of claim        Unliquidated
           Amount requested                                               $0.00



 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.                                                                                                    $650,000.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                            page 4
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 Debtor          Watertech Holdings, LLC                                                                             Case number (If known) 20-00662
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                           $500,000.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                $859,400.00

 90. All other assets. Copy line 78, Part 11.                                                    +                $650,000.00

 91. Total. Add lines 80 through 90 for each column                                                         $2,009,400.00            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $2,009,400.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 5
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                                                               United States Bankruptcy Court
                                                                       District of South Carolina
 In re      Watertech Holdings, LLC                                                                               Case No.   20-00662
                                                                                  Debtor(s)                       Chapter    11


                                     BUSINESS INCOME AND EXPENSES - AMENDED
         FINANCIAL REVIEW OF THE DEBTOR'S BUSINESS (NOTE: ONLY INCLUDE information directly related to the business operation.)
PART A - GROSS BUSINESS INCOME FOR PREVIOUS 12 MONTHS:
          1. Gross Income For 12 Months Prior to Filing:                                                      $               0.00
PART B - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:
          2. Gross Monthly Income                                                                                                $                   0.00
PART C - ESTIMATED FUTURE MONTHLY EXPENSES:
          3. Net Employee Payroll (Other Than Debtor)                                                         $               0.00
          4. Payroll Taxes                                                                                                    0.00
          5. Unemployment Taxes                                                                                               0.00
          6. Worker's Compensation                                                                                            0.00
          7. Other Taxes                                                                                                      0.00
          8. Inventory Purchases (Including raw materials)                                                                    0.00
          9. Purchase of Feed/Fertilizer/Seed/Spray                                                                           0.00
          10. Rent (Other than debtor's principal residence)                                                                  0.00
          11. Utilities                                                                                                       0.00
          12. Office Expenses and Supplies                                                                                    0.00
          13. Repairs and Maintenance                                                                                         0.00
          14. Vehicle Expenses                                                                                                0.00
          15. Travel and Entertainment                                                                                        0.00
          16. Equipment Rental and Leases                                                                                     0.00
          17. Legal/Accounting/Other Professional Fees                                                                        0.00
          18. Insurance                                                                                                       0.00
          19. Employee Benefits (e.g., pension, medical, etc.)                                                                0.00
          20. Payments to Be Made Directly By Debtor to Secured Creditors For Pre-Petition Business Debts (Specify):

                  DESCRIPTION                                                                     TOTAL

          21. Other (Specify):

                  DESCRIPTION                                                                     TOTAL

          22. Total Monthly Expenses (Add items 3-21)                                                                            $                   0.00
PART D - ESTIMATED AVERAGE NET MONTHLY INCOME:
          23. AVERAGE NET MONTHLY INCOME (Subtract item 22 from item 2)                                                          $                   0.00




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